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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA



OSCAR GUILLEN,                            )
                                          )
                     Petitioner,          )
v.                                        )         No. 1:05-cv-1096-RLY-TAB
                                          )
CRAIG HANKS, Superintendent,              )
                                          )
                     Respondent.          )




                          Entry Concerning Selected Matters

                                              I.

       A copy of the petitioner’s motion to alter or amend judgment shall be included with
the distribution of this Entry.

                                              II.

      This action for a writ of habeas corpus was dismissed through the issuance of a
Judgment entered on the clerk’s docket on October 14, 2005. The petitioner has filed a
motion to alter or amend judgment.

       The post-judgment motion was signed by the petitioner within ten (10) business days
following the entry of judgment on the clerk’s docket. Accordingly, the motion is treated as
a motion to alter or amend judgment pursuant to Rule 59(e) of the Federal Rules of Civil
Procedure. This is because all motions that substantively challenge the judgment, filed
within 10 business days of the entry of judgment will be treated as based on Rule 59, "no
matter what nomenclature the movant employs." Lac du Flambeau Band of Lake Superior
Chippewa Indians v. Wisconsin, 957 F.2d 515, 517 (7th Cir. 1992).

        Rule 59(e) "authorizes relief when a moving party 'clearly establish[es] either a
manifest error of law or fact' or 'present[s] newly discovered evidence.'" Souter v.
International Union, 993 F.2d 595, 599 (7th Cir. 1993) (quoting Federal Deposit Ins. Corp.
v. Meyer, 781 F.2d 1260, 1268 (7th Cir. 1986)). The purpose of a motion to alter or amend
judgment under Rule 59(e) is to have the court reconsider matters "properly encompassed
in a decision on the merits." Osterneck v. Ernst and Whinney, 489 U.S. 169, 174 (1988).
The Court of Appeals has explained that there are only three valid grounds for a Rule 59(e)
motion--newly-discovered evidence, an intervening change in the law, and manifest error
in law. See Cosgrove v. Bartolotta, 150 F.3d 729, 732 (7th Cir. 1998).
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       There was in this case no manifest error of law or fact. See Russell v. Delco Remy
Div. of General Motors Corp., 51 F.3d 746, 749 (7th Cir. 1995). The court did not
misapprehend the petitioner’s claims, nor did it misapply the law to those claims in light of
the underlying record and the applicable law. Accordingly, the post-judgment motion to alter
or amend judgment is denied.

        IT IS SO ORDERED.




Date: 11/08/2005
                                                              _______________________________
                                                               RICHARD L. YOUNG, JUDGE
                                                               United States District Court
                                                               Southern District of Indiana




Copies to:

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